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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


WALTER CHRUBY, et al.

       Plaintiffs,

       V.                                                 Case No. l:14-cv-456 (GBL/TRJ)

GLOBAL TEL*LINK CORPORATION,

       Defendant.


                                           ORDER


       THIS MATTER is before the Court on Plaintiff Walter Churby's Motion for

Reconsideration (Doc. 29) and Motion for Transfer (Doc. 47). This case arises from a class

action suit against Defendant Global Tel*Link Corporation ("GTL") for violation of the Federal

Communications Act ("FCA") (Count I), unjust enrichment (Count II), and violation of the

Sherman Act (Count III).

       There are two issues before the court. The first issue is whether the Court should grant

Plaintiffs Motion for Reconsideration as to the Court's January 14, 2015 Order staying the case,

where Plaintiff argues that the D.C Circuit's order holding in abeyance the related matter is a

change of material fact directly bearing on the specific factors previously considered by the

Court in rendering its decision on Defendant's Motion to Stay. The Court GRANTS Plaintiffs

Motion for Reconsideration and LIFTS the previously ordered STAY because the D.C. Circuit

Court's Order granting Respondent's Uncontested Motion to Hold the Cases in Abeyance in

Global Tel*Link v. FCC, No. 13-1281 (D.C. Cir. 2014) serves as a significant change in facts

rendering reconsideration appropriate.
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        The second issue before the Court is whether the Court should grant Plaintiffs Motion to

Transfer, where Plaintiff argues that a transfer would be in the best interest of justice as well as

the convenience of the parties and witnesses. Defendant does not oppose the transfer, if the stay

is lifted.   The Court GRANTS Plaintiffs Motion to Transfer to avoid duplicative litigation,

inconveniencing parties and witnesses, and to encourage consolidation and coordination with the

related lawsuits already pending in that court.

        Accordingly, the Court GRANTS Plaintiffs Motion for Reconsideration and thus

LIFTS the previously ordered STAY, and also GRANTS Plaintiffs Motion to Transfer to the

Western District of Arkansas.

                                       I.    BACKGROUND


         Plaintiffs, incarcerated inmates and family members, assert class action claims against

Defendant Global Tel*Link Corporation ("GTL"), an inmate calling service ("ICS") provider,

for engaging in rate discrimination and overcharging inmates and their families for telephone

services. First. Am. Compl. (hereinafter "Compl.") H2. Plaintiffs assert three causes of action:

(1) violation of the Federal Communications Act ("FCA") (47 U.S.C. §§ 201, 202, 276) (Count

I), (2) unjust enrichment (Count II), and (3) violation of the Sherman Act (15 U.S.C. §§1,13)

(Count III). Compl. H83, 88, 92, 93.

         Global Tel*Link Corporation is a telecommunications provider for inmates housed in

certain state prisons and jails throughout the country. Def.'s Supp. Br. at 2. The Federal

Communications Commission ("FCC") regulates interstate and international communications by

radio, television, wire, satellite, and cable. Pis.' Opp'n Br. at 2. The FCC interprets and applies

the Federal Communications Act ("FCA"), which regulates inmate telephone services in

correctional facilities as a form of payphone services. Pis.' Opp'n Br. at 2-3; 47 U.S.C. § 276(d).
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The FCA requires ICS providers, such as GTL, to charge only "just and reasonable" rates for

telephone services provided to inmates. Pis.' Opp'n Br. at 3; 47 U.S.C. § 201(b).

       On September 26, 2013, the FCC released a Report and Order and Further Notice of

Proposed Rulemaking ("Order") requiring ICS rates to be "cost-based" and implementing

interim rate caps for ICS interstate calls. Def.'s Supp. Br. at 3-4; 78 Fed. Reg. 67956 (Nov. 13,

2013). Specifically, the Order classifies "site commission payments" as "profits" rather than

"costs," and finds that such payments cannot be passed along to customers in the form of rates.

Pis.' Opp'n Br. at 4; 78 Fed. Reg. at 67962-63. GTL and other ICS providers filed a petition for

review of the Order to the United States Court of Appeals for the D.C. Circuit and filed a motion

to stay the implementation of the Order, which was scheduled to take effect on February 11,

2014. Def.'s Supp. Br. at 5; 78 Fed. Reg. at 67956. On January 13, 2014, the D.C. Circuit

stayed the portions of the Order that required ICS rates to be cost-based but did not stay the

implementation of interim rate caps for ICS interstate calls. Def.'s Supp. Br. at 5; Def.'s Ex. A.

       Here, Defendant GTL filed a Motion to Stay on Primary Jurisdiction Grounds seeking to

refer Count I, the Federal Communications Act claim, to the FCC. (Doc. 11). On January 14,

2015, this Court granted Defendant's Motion to Stay, not on primary jurisdictiongrounds, but

rather that adjudication of the current case before the matter was resolved in the D.C. Circuit

would risk inconsistency in the telecommunications industry. (Doc. 28). Plaintiffs filed a

Motion for Reconsideration (Doc. 29) on January 23, 2015 and later a Motion to Transfer (Doc.

47) on February 13, 2015. Both motions are now properly before the Court.
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                                          II.   ANALYSIS


       A. Motion for Reconsideration


       The Court GRANTS Plaintiffs Motion for Reconsideration and LIFTS the previously

ordered STAY because the D.C. Circuit Court's Order granting Respondent's Uncontested

Motion to Hold the Cases in Abeyance in Global Tel*Link v. FCC, No. 13-1281 (D.C. Cir. 2014)

serves as a significant change in facts, rendering reconsideration appropriate.

       Under Rule 54 of the Federal Rules of Civil Procedure, "[A]ny order... that adjudicates

fewer than all the claims or the rights and liabilities of fewer than all the parties ... may be

revised at any time before the entry ofjudgment adjudicating all the claims and all the parties'

rights and liabilities." Fed. R. Civ. P. 54(b). "[A] district court retains the power to reconsider

and modify its interlocutory judgments, including partial summary judgments, at any time prior

to final judgment when such is warranted." Am. Canoe Ass'n, Inc. v. Murphy Farms, Inc., 326

F.3d 505, 514-15 (4th Cir. 2003) (citing Fayetteville Investors v. Commercial Builders, Inc., 936

F.2d 1462, 1469 (4th Cir. 1991)). The Fourth Circuit has found that reconsideration is

appropriate where "a controlling or significant change in the law or facts since the submission of

the issue to the Court [has occurred]." McAfee v. Boczar, No. 3:11CV646, 2012 WL 2505263, at

*2 (E.D. Va. June 28, 2012).

        At the time the Court heard oral argument (October 24, 2014) and was considering

Defendant's Motion to Stay (Doc. 11), the FCC was litigating in the D.C. Circuit court the issues

that form the basis of this suit: interstate rates, intrastate rates, and site commission payments.

See 78 Fed. Reg. 67956. Further, the appeal before the D.C. Circuit was scheduled for oral

argument on February 6, 2015. However, on December 16, 2014, the D.C. Circuit issued an
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Order holding the appeal proceedings in abeyance. In other words, the D.C. Circuit has decided

to await the FCC's final proposed rules before considering any of the issues underlying this case.

       To date the FCC has not provided a timeline of when these final rules can be expected.

Considering that it took the FCC more than a decade to issue its current interim rules on

interstate calling rates for inmates, the Court is not confident that an indefinite stay pending the

the resolution of Global Tel*Lmk v. FCC, No. 13-1281 (D.C. Cir. 2014), which now depends on

the FCC's final rules, would not unjustly burden Plaintiff and those similarly situated.

Accordingly, the Court finds that the D.C. Circuit Court's Order granting Respondent's

Uncontested Motion to Hold the Cases in Abeyance in Global Tel*Link v. FCC, No. 13-1281

(D.C. Cir. 2014) serves as a significant change in facts, rendering reconsideration appropriate.

Thus, the Court GRANTS Plaintiffs Motion for Reconsideration and LIFTS the previously

ordered STAY.


       B. Motion to Transfer


       The Court GRANTS Plaintiffs Motion to Transfer to avoid duplicative litigation,

inconveniencing parties and witnesses, and to encourage consolidation and coordination with the

related lawsuits already pending in the Western District of Arkansas.

       Section 1404(a) provides that "[fjor the convenience of the parties and witnesses, in the

interest ofjustice, a district court may transfer any civil action to any other district or division

where it might have been brought." 28 U.S.C.§1404 (a). First, § 1404(a) only applies where

venue is proper in the transferor forum. Bd. ofTrs. v. Sullivant Ave. Prop., LLC, 508 F.Supp.2d

473, 476 (E.D.Va.2007). Second, the proposed transferee forum must be one where the suit

might have been brought. Id. Here, both elements are satisfied. This Court properly exercised
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jurisdiction and Defendant GTL does business in the Western District of Arkansas and has even

been sued in that court by similarly situated plaintiffs for the same underlying issues.

       Further, when considering a motion to transfer venue, a court must consider and balance

the plaintiffs choice of venue, the convenience of the parties and witnesses, and the interest of

justice. GTE Wireless, Inc. v. Qualcomm, Inc., 71 F. Supp. 2d 517, 519 (E.D. Va. 1999). The

interest of justice includes circumstances such as "the pendency of a related action, the court's

familiarity with the applicable law, docket conditions, access to premises that might have to be

viewed, the possibility of unfair trial, the ability to join other parties and the possibility of

harassment." Bd. ofTr. v. Baylor Heating & Air Conditioning, 702 F. Supp. 1253, 1260 (E.D.

Va. 1988). The movant bears the burden to establish that transfer is proper in view of these

considerations. Cognitronics Imaging Sys., Inc. v. Recognition Research Inc., 83 F.Supp.2d 689,

696 (E.D. Va. 2000).

       Here, each of the three elements is easily analyzed.           First, in a slightly unusual

circumstance, here Plaintiff seeks to transfer venue. Accordingly, the Plaintiffs choice of venue

weighs in favor of transferring. The second factor—convenience of the parties and witnesses, is

also easily analyzed, as even the Defendant agrees that they do ''not wish to have to respond to

the similar allegations in two separate jurisdictions."     (Doc. 51).    Because the parties and

witnesses would be the same in this litigation as those in the cases currently pending in the

Western District of Arkansas, this factor also weighs in favor of transferring. Factor three, the

interest of justice, also weighs in favor of transferring. In determining whether the interest of

justice supports transferring, a Court may consider the pendency of a related action. Baylor

Heating & Air Conditioning, 702 F. Supp. at 1260. Here, the pendency of several related actions

is dispositive. The cases pending in the Western District of Arkansas involve the same parties.
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the same underlying facts, and in some instances the same counsel. Transferring the case would

prevent duplicative and overlapping class action litigation and with that the possibility of

inconsistent rulings.

       Plaintiff argues that a transfer would be in the best interest of justice as well as the

convenience of the parties and witnesses. The Court agrees. Additionally, Defendant does not

oppose the transfer if the stay is lifted. The Court GRANTS Plaintiffs Motion to Transfer to

avoid duplicative litigation, inconveniencing parties and witnesses, and to encourage

consolidation and coordination with the related lawsuits already pending in the Western District

of Arkansas. Therefore, it is hereby

       ORDERED that Plaintiffs Motion for Reconsideration (Doc. 29) is GRANTED and the

previously ordered STAY LIFTED; it is ftirther

        ORDERED Plaintiffs Motion to Transfer (Doc. 47) is GRANTED.                     This case is

transferred to the United States District Court for the Western District of Arkansas.

        IT IS SO ORDERED.         .


        ENTERED this        P day ofMarch, 2015.

Alexandria, Virginia
                                                                JsL
3//^/2015                                    Gerald Bruce Lee
                                             United States District Judge
